Case 1:17-cv-00522-WES-PAS Document 1-11 Filed 11/10/17 Page 1 of 8 PageID #: 308




                        EXHIBIT K
        Case 1:17-cv-00522-WES-PAS Document 1-11 Filed 11/10/17 Page 2 of 8 PageID #: 309



From:                   Rizzo, Briana C. <BCRizzo@Venable.com>
Sent:                   Wednesday, October 18, 2017 12:06 PM
To:                     Krista K. Stone; John T. McInnes
Cc:                     Root, Amanda R.; Spriggs, Annette M.
Subject:                RE: BSA - Hanna Instruments, Inc.
Attachments:            9575482-v1-Complaint Microsoft v TRG.PDF; 9575485-v1-Complaint Microsoft v EBIX.PDF;
                        9575489-v1-Complaint Microsoft v Datapipe.pdf; 9575453-v1-Complaint--Adobe v Forever 21.pdf

Categories:             Copied to LegalWorks


Dear Krista, 

Thank you for your letter of October 11, 2017.  

Though we appreciate the effort that Hanna Instruments performed in putting together their audit results, the provision 
of purchase orders, price quotes, purchase requisitions are not acceptable as valid proof of purchase to our 
client.  Reason being, the aforesaid documents do not demonstrate that a purchase has taken place, they merely 
establish intent to make a purchase of software.  The BSA gladly accepts proofs of purchase such as invoices, Microsoft 
Volume License pages, and email confirmations.  These examples all show that a transaction has in fact been 
accomplished.  If Hanna has any documentation of that sort, we would be happy to review it. 

You state in your letter that the BSA should obtain proof of payment from their members.  Please be reminded that the 
BSA is a trade association and it is neither appropriate nor efficient for them to request from their members in every 
single case for evidence that the customer should be keeping as long as the software at issue is installed on their 
computers.  In addition, please be assured that the BSA has internally vetted your client’s matter and the evidence it 
had.  They then consulted with their members who authorized this inquiry.  If the member’s records indicated Hanna 
Instruments was a fully licensed company, it is unlikely they would have approved BSA proceeding.  

Please understand that the BSA approached your client directly and requested its cooperation in this matter because an
initial investigation led us to the conclusion that your client would be interested in working with us cooperatively.  The 
rights holders had the alternative option of simply commencing litigation and seeking a court order permitting a raid by
U.S.  Marshals.   BSA  still  believes  that  an  informal  resolution  of  the  problem  is  preferable  to  a  much  more  costly  and
time‐consuming lawsuit – during which your client would have to provide the same information, but under considerably
more onerous conditions.  BSA hopes that your client will agree. 

The BSA and its members take the enforcement of their copyrights very seriously.  We want to make you aware that a 
number of complaints for copyright infringement have been filed by BSA member companies against companies in 
similar situations.  See e.g., Adobe Systems Inc., Autodesk, Inc. and Corel Corp. v. Forever 21, Inc., 5:15‐cv‐00404‐HRL 
(N.D. California); Microsoft Corp. v. Ebix, Inc., 1:13‐cv‐01655‐CAP (N.D. Georgia); Microsoft Corp. v. TRG Customer 
Solutions, Inc., 1:13‐cv‐00867‐ABJ (U.S.D.C.).  We attach copies of these complaints for your reference.  

Needless to say, our client does not consider this matter closed.  I would like to set up a call with your office sometime 
this week to discuss your client’s response to the BSA’s settlement offer. I am available tomorrow between 10‐12pm and 
2‐4pm ET. 

Thank you, 

Bri  

Briana C. Rizzo, Esq. | Venable LLP
t 202.344.4163 | f 202.344.8300 | m 703.772.4753
                                                                   1
     Case 1:17-cv-00522-WES-PAS Document 1-11 Filed 11/10/17 Page 3 of 8 PageID #: 310
600 Massachusetts Avenue, NW, Washington, DC 20001

BCRizzo@Venable.com | www.Venable.com 
From: Krista K. Stone [mailto:krista@mcmcip.com]  
Sent: Wednesday, October 11, 2017 6:04 PM 
To: Rizzo, Briana C. <BCRizzo@Venable.com>; John T. McInnes <john@mcmcip.com> 
Cc: Root, Amanda R. <ARRoot@Venable.com>; Spriggs, Annette M. <AMSpriggs@Venable.com> 
Subject: RE: BSA ‐ Hanna Instruments, Inc. 
 
Hi Briana, 
 
Please find Hanna’s response attached.  We will follow up with a hard copy by priority mail. 
 
Best Regards, 
Krista 
 
Krista K. Stone 
Attorney 
McInnes & McLane, LLP 
9 Exchange Street 
Worcester, MA  01608 
774.420.2360 X104 
 
krista@mcmcip.com    
  




                                        
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From: Rizzo, Briana C. [mailto:BCRizzo@Venable.com]
Sent: Wednesday, October 11, 2017 4:53 PM
To: Krista K. Stone; John T. McInnes
Cc: Root, Amanda R.; Spriggs, Annette M.
Subject: RE: BSA - Hanna Instruments, Inc.
 
Krista,  
 

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Touching base again. You noted you would send the BSA your client’s settlement response today. Are you in a position 
to send that? I will be out of the office tomorrow and Friday for business and would like to be able to move this along 
before then.  
 
Thanks,  
 
Bri  
 
Briana C. Rizzo, Esq. | Venable LLP
t 202.344.4163 | f 202.344.8300 | m 703.772.4753
600 Massachusetts Avenue, NW, Washington, DC 20001

BCRizzo@Venable.com | www.Venable.com 
From: Rizzo, Briana C.  
Sent: Tuesday, October 10, 2017 12:54 PM 
To: 'Krista K. Stone' <krista@mcmcip.com>; John T. McInnes <john@mcmcip.com> 
Cc: Root, Amanda R. <ARRoot@Venable.com>; Spriggs, Annette M. <AMSpriggs@Venable.com> 
Subject: RE: BSA ‐ Hanna Instruments, Inc. 
 
Krista, 
 
Thank you. We look forward to hearing from you then.  
 
Best,  
 
Bri 
 
Briana C. Rizzo, Esq. | Venable LLP
t 202.344.4163 | f 202.344.8300 | m 703.772.4753
600 Massachusetts Avenue, NW, Washington, DC 20001

BCRizzo@Venable.com | www.Venable.com 
From: Krista K. Stone [mailto:krista@mcmcip.com]  
Sent: Tuesday, October 10, 2017 12:29 PM 
To: Rizzo, Briana C. <BCRizzo@Venable.com>; John T. McInnes <john@mcmcip.com> 
Cc: Root, Amanda R. <ARRoot@Venable.com>; Spriggs, Annette M. <AMSpriggs@Venable.com> 
Subject: Re: BSA ‐ Hanna Instruments, Inc. 
 
Hi Briana,
I have been out of the office. We will have a response for you tomorrow.
Best regards,
Krista

Sent from my Verizon, Samsung Galaxy smartphone



-------- Original message --------
From: "Rizzo, Briana C." <BCRizzo@Venable.com>
Date: 10/9/17 10:35 AM (GMT-05:00)
To: "Krista K. Stone" <krista@mcmcip.com>, "John T. McInnes" <john@mcmcip.com>
Cc: "Root, Amanda R." <ARRoot@Venable.com>, "Spriggs, Annette M." <AMSpriggs@Venable.com>
Subject: RE: BSA - Hanna Instruments, Inc.

                                                            3
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Krista,  
  
Checking in on this again. Have you had a chance to follow up with your client yet? 
  
Thanks,  
  
Bri  
  
Briana C. Rizzo, Esq. | Venable LLP
t 202.344.4163 | f 202.344.8300 | m 703.772.4753
600 Massachusetts Avenue, NW, Washington, DC 20001

BCRizzo@Venable.com | www.Venable.com 
From: Rizzo, Briana C.  
Sent: Wednesday, October 04, 2017 12:49 PM 
To: 'Krista K. Stone' <krista@mcmcip.com>; John T. McInnes <john@mcmcip.com> 
Cc: Root, Amanda R. <ARRoot@Venable.com>; Spriggs, Annette M. <AMSpriggs@Venable.com> 
Subject: RE: BSA ‐ Hanna Instruments, Inc. 
  
Krista,  
  
Thanks for the update. The BSA is anxious to move this matter along as efficiently as possible, so please let us know your 
client’s response as soon as possible.  
  
Thanks,  
  
Bri  
  
Briana C. Rizzo, Esq. | Venable LLP
t 202.344.4163 | f 202.344.8300 | m 703.772.4753
600 Massachusetts Avenue, NW, Washington, DC 20001

BCRizzo@Venable.com | www.Venable.com 
From: Krista K. Stone [mailto:krista@mcmcip.com]  
Sent: Wednesday, October 04, 2017 11:34 AM 
To: Rizzo, Briana C. <BCRizzo@Venable.com>; John T. McInnes <john@mcmcip.com> 
Cc: Root, Amanda R. <ARRoot@Venable.com>; Spriggs, Annette M. <AMSpriggs@Venable.com> 
Subject: RE: BSA ‐ Hanna Instruments, Inc. 
  
Hi Briana, 
  
We have not had the chance to discuss this with our client.  We will get back to you after we speak with them. 
  
Best Regards, 
Krista 
  
Krista K. Stone 
Attorney 
McInnes & McLane, LLP 
9 Exchange Street 
Worcester, MA  01608 
774.420.2360 X104 
  
                                                            4
     Case 1:17-cv-00522-WES-PAS Document 1-11 Filed 11/10/17 Page 6 of 8 PageID #: 313
krista@mcmcip.com    
  




                                        
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computer system.  
  
  
  
From: Rizzo, Briana C. [mailto:BCRizzo@Venable.com]
Sent: Wednesday, October 04, 2017 11:21 AM
To: John T. McInnes; Krista K. Stone
Cc: Root, Amanda R.; Spriggs, Annette M.
Subject: RE: BSA - Hanna Instruments, Inc. 
  
John,  
  
Just touching base on this again, as Hanna’s response to the BSA’ settlement offer was due yesterday and we did not 
receive any correspondence from your team. Feel free to let us know if it was sent and we just missed it. Otherwise, will 
your client be in a position to submit a good faith response to this offer by the end of the week?  
  
Thanks,  
  
Bri  
  
Briana C. Rizzo, Esq. | Venable LLP
t 202.344.4163 | f 202.344.8300 | m 703.772.4753
600 Massachusetts Avenue, NW, Washington, DC 20001

BCRizzo@Venable.com | www.Venable.com 
From: Rizzo, Briana C.  
Sent: Tuesday, September 26, 2017 5:12 PM 
To: John T. McInnes <john@mcmcip.com>; 'Krista K. Stone' <krista@mcmcip.com> 
Cc: Root, Amanda R. <ARRoot@Venable.com>; Spriggs, Annette M. <AMSpriggs@Venable.com> 
Subject: BSA ‐ Hanna Instruments, Inc. 
  
John,  
  
Please see the attached document sent on behalf of Linda Zirkelbach. The reasons for this settlement figure are as 
follows: 
  
     ‐    Microsoft Office Access 2007 – No proof of purchase received. 
                                                             5
        Case 1:17-cv-00522-WES-PAS Document 1-11 Filed 11/10/17 Page 7 of 8 PageID #: 314
    ‐      Microsoft Office Access 2010 – No proof of purchase received. 
    ‐      Microsoft Office Basic 2007 – Evidence received covered 2 installations; unable to apply purchase requisitions 
          and purchase orders as evidence of purchase for remaining installations as these documents do not show a 
          completed purchase of software licensing rights, as required in prior BSA correspondence. Rather, these 
          document show steps leading up to a possible purchase. 
    ‐      Microsoft Office Home & Business 2010 –Evidence received covered 1 installation; unable to apply product 
          keys as evidence of purchase for remaining installations because, as noted in earlier BSA correspondence, 
          product keys do not provide information about the purchaser, purchase, date, seller, purchase price, and the 
          like. 
    ‐      Microsoft Office Home & Business  (MAC) 2011 – Evidence received covered 1 installation; unable to accept 
          purchase order and purchase requisition provided as valid evidence of purchase as these documents do not 
          show a completed purchase of software licensing rights, as required in prior BSA correspondence. Rather, these 
          document show steps leading up to a possible purchase. 
    ‐      Microsoft Office Professional 2007 – Unable to accept price quote, purchase orders, and purchase requisitions 
          provided as valid evidence of purchase as these documents do not show a completed purchase of software 
          licensing rights, as required in prior BSA correspondence. Rather, these document show steps leading up to a 
          possible purchase. 
    ‐      Microsoft Office Professional 2010 – Unable to accept purchase orders provided as valid evidence of purchase 
          these documents do not show a completed purchase of software licensing rights, as required in prior BSA 
          correspondence. Rather, these document show steps leading up to a possible purchase.. 
    ‐      Microsoft Office Small Business 2007 –Order confirmation page covered 3 installations; unable to accept price 
          quote provided as valid evidence of purchase for remaining installation as this document does not show a 
          completed purchase of software licensing rights, as required in prior BSA correspondence. Rather, it shows a 
          step leading up to a possible purchase. 
  
                                                           
As a result, the BSA deems these installations (without proper evidence of purchase) to be infringements upon its 
intellectual property, and calculated its settlement demand accordingly. 
  
We ask that you please 1) confirm receipt of this email and 2) respond substantively by Tuesday, October 3, 2017. 
  
We are happy to discuss this further if you have additional questions, and are more than willing to give you a call to 
negotiate a settlement that works for both parties.  
  
Sincerely,  
  
Bri  
  
Briana C. Rizzo, Esq. | Venable LLP
t 202.344.4163 | f 202.344.8300 | m 703.772.4753
600 Massachusetts Avenue, NW, Washington, DC 20001

BCRizzo@Venable.com | www.Venable.com 

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